           Case 2:21-cr-00078-JAM Document 83 Filed 05/13/21 Page 1 of 3


 1 ROSENFELD & SAWYER
   ALLEN SAWYER SBN 173565
 2 555 Capitol Mall, Suite 1245
   Sacramento, CA 95814
 3 Telephone;(916) 447-2070
   Fax: (800) 968-0650
 4

 5 Attorneys for Defendant
   AMANDEEP MULTANI
 6
 7
                              IN THE UNITED STATES DISTRICT COURT
 8
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     THE UNITED STATES OF AMERICA,                      )
11                                                      )
                                Plaintiff,              )
12                                                      )     Case No. 2:21-MJ-00078
            vs.                                         )
13                                                      )
     AMANDEEP MULTANI,                                  ) NOTICE OF REQUEST AND REQUEST
14                                                      ) TO SEAL DOCUMENTS AND ORDER
                                                        ) THEREON
15                              Defendant.              )
                                                        ) (U.S.D.C. LOCAL RULES 141)
16                                                      )
                                                        )
17
     TO:    THE HONORABLE JEREMY D. PETERSON, UNITED STATES DISTRICT
18          COURT JUDGE AND TO THE UNITED STATES ATTORNEY’S OFFICE, BY AND
            THROUGH ITS REPRESENTATIVE DAVID SPENCER, ASSISTANT UNITED
19          STATES ATTORNEY, AND TO UNITED STATES PRETRIAL SERVICES
            OFFICER ALICIA MIRGAIN:
20
21          Defendant Amandeep Multani by and through his counsel Allen Sawyer, hereby request that

22 the exhibits used in Mr. Multani’s DEFENSE’S RESPONSE TO UNITED STATES’
23 OPPOSITION TO MOTION FOR BAIL REVIEW be filed under seal. The basis for this request is
24
     that the exhibits contain confidential information, regarding Mr. Multani’s daughter, and other
25
     personal information discussed in private while recorded in the Sacramento County Jail. The
26
     exhibits also include personal financial information of Mr. Multani’s fathers trucking business,
27
     payroll records, and real estate information.
28

                                               -1-
               NOTICE OF REQUEST AND REQUEST TO SEAL DOCUMENTS AND ORDER THEREON
          Case 2:21-cr-00078-JAM Document 83 Filed 05/13/21 Page 2 of 3


 1          The names permitted to have access to this document shall be the Office of the United States
 2 Attorney, as well as the United States Pretrial Office.
 3
     Respectfully submitted,
 4
      Dated: May 12, 2021                                       By:____/s/N. Allen Sawyer____
 5                                                              N. Allen Sawyer
                                                                ROSENFELD & SAWYER
 6                                                              ALLEN SAWYER SBN 173565
                                                                555 Capitol Mall, Suite 1245
 7                                                              Sacramento, CA 95814
                                                                Telephone;(916) 447-2070
 8                                                              Fax: (800) 968-0650

 9
10                                    **************************

11
                                       PROPOSED ORDER
12
13 Good cause appearing, IT IS SO ORDERED that the Exhibits in the DEFENSE’S RESPONSE TO
   UNITED STATES’ OPPOSITION TO MOTION FOR BAIL REVIEW be filed under seal.
14
15 DATED: May 12, 2021. _
16

17                                               /s/ _____________________
                                                 HON JEREMY PETERSON
18                                               United States District Court

19
20
21
22
23
24
25
26
27
28

                                              -2-
              NOTICE OF REQUEST AND REQUEST TO SEAL DOCUMENTS AND ORDER THEREON
     Case 2:21-cr-00078-JAM Document 83 Filed 05/13/21 Page 3 of 3


 1
 2
 3
 4

 5
 6
 7
 8
 9
10
11
12
13
14
15
16

17
18

19
20
21
22
23
24
25
26
27
28

                                       -3-
       NOTICE OF REQUEST AND REQUEST TO SEAL DOCUMENTS AND ORDER THEREON
